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                    19
                                                    UNITED STATES DISTRICT COURT
                    20
                                                 NORTHERN DISTRICT OF CALIFORNIA
                    21
                                                           SAN FRANCISCO DIVISION
                    22

                    23   FEDERAL TRADE COMMISSION,                       Case No. 3:23-cv-01710-AMO
                                        Plaintiff,
                    24                                                    NOTICE OF CONSTITUTIONAL
                                       v.                                 CHALLENGE
                    25
                         INTERCONTINENTAL EXCHANGE, INC.
                    26
                         and
                    27
                         BLACK KNIGHT, INC.,
                    28
                                               Defendants.
MORGAN, LEWIS &
 BOCKIUS LLP                                                                                Case No. 3:23-cv-01710-AMO
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                   NOTICE OF CONSTITUTIONAL CHALLENGE
                           Case 3:23-cv-01710-AMO Document 74 Filed 05/09/23 Page 2 of 5



                     1                             NOTICE OF CONSTITUTIONAL CHALLENGE
                     2             Pursuant to Rule 5.1(a) of the Federal Rules of Civil Procedure, Defendants

                     3   Intercontinental Exchange, Inc. (“Intercontinental Exchange”) and Black Knight, Inc. (“Black

                     4   Knight”), by and through their counsel, hereby provide notice that this matter involves a

                     5   constitutional challenge, inter alia, to the FTC’s administrative adjudicative process and

                     6   proceedings following the issuance of a complaint by the FTC pursuant to 15 U.S.C. § 45.

                     7   Defendants raised the question of that provision’s constitutionality in Intercontinental Exchange’s

                     8   Answer and Affirmative Defenses and Counterclaims (Dkt. No. 57) and Black Knight’s Answer,

                     9   Affirmative Defenses, and Counterclaims (Dkt. No. 58), where they argue that 15 U.S.C. § 45 as

                    10   applied violates the Due Process Clause of Fifth Amendment, the Equal Protection Clause of the

                    11   Fifth Amendment, Article II of the Constitution, Article III of the Constitution, the Seventh

                    12   Amendment, and the nondelegation doctrine.

                    13             Intercontinental Exchange’s Answer and Affirmative Defenses and Counterclaims and

                    14   Black Knight’s Answer, Affirmative Defenses, and Counterclaims have been served via certified

                    15   mail on the Attorney General of the United States and the United States Attorney for the Northern

                    16   District of California.

                    17

                    18   Dated: May 9, 2023

                    19   By /s/ R. James Slaughter                          By /s/ Minna Lo Naranjo
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                           Case 3:23-cv-01710-AMO Document 74 Filed 05/09/23 Page 3 of 5



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                         Case 3:23-cv-01710-AMO Document 74 Filed 05/09/23 Page 4 of 5



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                                                            4                      Case No. 3:23-cv-01710-AMO
  SAN FRANCISCO
                                            NOTICE OF CONSTITUTIONAL CHALLENGE
                           Case 3:23-cv-01710-AMO Document 74 Filed 05/09/23 Page 5 of 5



                     1                                    ATTORNEY ATTESTATION
                     2          Pursuant to Civil L. R. 5-1(h)(3), I attest that concurrence in the filing of this document

                     3   has been obtained from each of the other signatories above.

                     4
                         Dated: May 9, 2023
                     5

                     6
                                                                          By:    /s/Minna Lo Naranjo
                     7                                                           Minna Lo Naranjo

                     8

                     9                                        PROOF OF SERVICE
                    10          I, Minna Lo Naranjo, hereby certify that on May 9, 2023, I electronically filed the
                    11   documents entitled “NOTICE OF CONSTITUTIONAL CHALLENGE” with the Clerk of the
                    12   Court for the United States District Court, Northern District of California using the CM/ECF
                    13   system and served a copy of same upon all counsel of record via the Court’s electronic filing
                    14   system.
                    15
                         Dated: May 9, 2023
                    16

                    17
                                                                          By:    /s/Minna Lo Naranjo
                    18                                                           Minna Lo Naranjo
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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                          5                        Case No. 3:23-cv-01710-AMO
  SAN FRANCISCO
                                                    NOTICE OF CONSTITUTIONAL CHALLENGE
